Case 1:20-cv-03172-RLY-MJD Document 134 Filed 10/07/22 Page 1 of 4 PageID #: 1430




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   TROYCE MANASSA, individually and on
   behalf of all others similarly situated,

                      Plaintiff,

           v.
                                                              Case No. 1:20-cv-03172-RLY-MJD
   NATIONAL COLLEGIATE ATHLETIC
   ASSOCIATION,

                       Defendant.


  JOINT MOTION REQUESTING THE ENTRY OF A COURT ORDER AUTHORIZING
               THE PRODUCTION OF CERTAIN DOCUMENTS

         Plaintiff and Defendant jointly file this Motion to respectfully request that the Court enter

  the order attached as Exhibit A hereto, to address confidentiality concerns related to the production

  of documents and information that may contain “education records” as defined in the

  implementing regulations for the Family Educational Rights and Privacy Act (“FERPA”) (20

  U.S.C. § 1232g et seq.; 34 CFR Part 99).

         Because Plaintiff’s claims in this putative lawsuit concern, among other things, the

  performance of collegiate sports teams at various historically black colleges and universities

  (“HBCUs”) under the NCAA’s Academic Performance Program (“APP”), discovery requires the

  production of certain documents that may fall within the definition of education records under

  FERPA (“FERPA Education Records”), see e.g., 34 C.F.R. § 99.3; 20 U.S.C. § 1232g(a)(D)(4)(A),

  and which may contain personally identifiable information of student athletes other than the

  Plaintiff. Accordingly, the parties jointly request that the Court enter the Order attached as Exhibit




                                                    1
Case 1:20-cv-03172-RLY-MJD Document 134 Filed 10/07/22 Page 2 of 4 PageID #: 1431




  A to provide additional confidentiality protections to the production of such documents and

  information

            For these reasons, the parties jointly requests that the Court grant this Motion, and enter

  the order attached as Exhibit A.


      DATED: October 7, 2022                         Respectfully submitted,

                                                     /s/ V. Chisara Ezie-Boncoeur
                                                     Victor D. Vital (Admitted Pro Hac Vice)1
                                                     victor.vital@btlaw.com
                                                     V. Chisara Ezie-Boncoeur
                                                     cezie@btlaw.com
                                                     Brian E. Casey
                                                     brian.casey@btlaw.com
                                                     Alicia Raines Barrs
                                                     Alicia.Rainesbarrs@btlaw.com
                                                     Ilana Zelener (Admitted Pro Hac Vice)
                                                     Ilana.Zelener@btlaw.com
                                                     BARNES & THORNBURG LLP
                                                     201 S. Main Street
                                                     South Bend, IN 46204
                                                     Telephone: 574-233-1171
                                                     Facsimile: 574-237-1125

                                                     Attorneys for Defendant the NCAA

                                                     AND

                                                     By: /s/ Elizabeth A. Fegan
                                                      Elizabeth A. Fegan (admitted pro hac vice)
                                                      beth@feganscott.com
                                                      FEGAN SCOTT LLC
                                                      150 S. Wacker Dr., 24th Floor
                                                      Chicago, IL 60606
                                                      Telephone: (312) 741-1019
                                                      Facsimile: (312) 264-0100




  1
      Mr. Vital can be contacted at Barnes & Thornburg LLP’s Dallas, Texas office.

                                                       2
Case 1:20-cv-03172-RLY-MJD Document 134 Filed 10/07/22 Page 3 of 4 PageID #: 1432




                                       Je Yon Jung (admitted pro hac vice)
                                       MAY LIGHTFOOT PLLC
                                       3200 Martin Luther King Jr. Ave. S.E., 3rd Floor
                                       Washington, DC 20032
                                       Telephone: (202) 918-1824
                                       Facsimile: (202) 918-1010
                                       jjung@maylightfootlaw.com

                                       LaRuby May (admitted pro hac vice)
                                       LIGHTFOOT PLLC
                                       3200 Martin Luther King Jr. Ave. S.E., 3rd Floor
                                       Washington, DC 20032
                                       Telephone: (202) 918-1824
                                       Facsimile: (202) 918-1010
                                       lmay@maylightfootlaw.com

                                       Melissa R. Clark (admitted pro hac vice)
                                       Brooke Achua (admitted pro hac vice)
                                       melissa@feganscott.com
                                       brooke@feganscott.com
                                       FEGAN SCOTT LLC
                                       140 Broadway, 46th Fl.
                                       New York, NY 10005
                                       Telephone: (347) 353-1150
                                       Facsimile: (312) 264-0100

                                       Ling S. Wang (admitted pro hac vice)
                                       FEGAN SCOTT LLC
                                       100 S. Fifth Street, Suite 1900
                                       Minneapolis, MN 55402
                                       Telephone: (651) 432-4468
                                       Facsimile: (312) 264-0100
                                       ling@feganscott.com

                                       William N. Riley, Bar No.: 14941-49
                                       Russell B. Cate, Bar No.: 27596-29
                                       RILEYCATE, LLC
                                       11 Municipal Drive, Ste. 320
                                       Fishers, IN 46038
                                       Telephone: (317) 588-2866
                                       Facsimile: (317) 458-1875
                                       wriley@rileycate.com
                                       rcate@rileycate.com

                                       Attorneys for Plaintiff and the Proposed Class


                                        3
Case 1:20-cv-03172-RLY-MJD Document 134 Filed 10/07/22 Page 4 of 4 PageID #: 1433




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been filed using this court’s ECF system on all counsel of record.

                                                      /s/ Chisara Ezie-Boncoeur
                                                      Chisara Ezie-Boncoeur




                                                  4
